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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION
Kimberly Edelstein,
           Plaintiff,

                 V.                                   Case No.       1:17cv305

Judge Greg Stephens,                                  Judge Michael R. Barrett

                 Defendant.
                                          Civil Minutes
                                              Trial (Day 6)
                                               before the

HONORABLE MICHAEL R. Barrett, U.S. DISTRICT JUDGE
COURT REPORTER: Maryann Maffia, Official
COURTROOM DEPUTY: Krista Zeller
LAW CLERK: Grace Royalty
DATE: January 30, 2023        TIME: Gf:I ~ - /;):to '->(p '.Lf 3
                                    I: 15 -q:SE; /
Attorney for Plaintiff( s ):                         Attorney for Defendant(s):
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                                        WITNESSES
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                                        PROCEDURES

   ✓       Counsel present                     _ _ _ Opening Statements
   V:      Plaintiff calls witnesses/continues   v   Plaintiff admits exhibits
___        Plaintiff Rests                     _ _ _ Defendant moves for Rule 50 motions
___        Judge Grants/Denies Rule 50 Motion    ✓   Defendant calls witnesses
   ✓       Defendant admits exhibits                 Defendant rests
___        Defendant renews Rule 50 Motion           Judge Grants/Denies Rule 50 Motion
___        Plaintiff's rebuttal                      No rebuttal
___        Jury Charge conference held               Jury charged
___        Closing Arguments                          Jury deliberates


Court adjourned or in recess until   I I so /~3 at q•ovo. W\     .
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